                     IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA



 STATE OF ALASKA,

                     Plaintiff,
             v.

 BRYAN NEWLAND, in his official
 capacity as Assistant Secretary, Indian           Case No. 3:23-cv-00007-SLG
 Affairs, U.S. Department of the Interior,
 et al.,

                     Defendants,

             and

CENTRAL COUNCIL OF TLINGIT &
HAIDA INDIAN TRIBES OF ALASKA,

                     Intervenor-Defendants.


  ORDER RE JOINT MOTION FOR VACATUR OF THE APRIL 18, 2023, CASE
 SCHEDULING ORDER [DKT.11] AND GRANTING STIPULATED MOTION FOR
                      BRIEFING SCHEDULE
       The Parties’ Joint Motion for Vacatur of the April 18, 2023, Case Scheduling Order at

[Dkt. 11] and Stipulated Motion for Briefing Schedule at Docket [12] is GRANTED. IT IS

ORDERED the above-captioned case shall proceed under Local Civil Rule 16.3. The briefing

schedule is this matter shall be as follows:

1. With respect to the review of the agency record in this case:

    A. Per Local Civil Rule 16.3(b)(1), Interior shall lodge the agency record for the

       challenged agency decision at issue in this case by June 2, 2023.

    B. On or before July 3, 2023, the Parties will identify any need to supplement the agency



          Case 3:23-cv-00007-SLG Document 13 Filed 05/09/23 Page 1 of 3
        record or otherwise address issues with the agency record as lodged.

    C. On or before July 10, 2023, the Parties will file any motion concerning the agency

        record, to the extent such motion is required.

2. If no motion is filed regarding the agency record, the parties agree to the following

   schedule for merits briefing in this case:

    A. On or before August 1, 2023, Plaintiff shall file its motion for summary judgment on

        all claims.

    B. On or before October 2, 2023, Interior shall file its consolidated cross-motion for

        summary judgment and opposition to Plaintiff’s motion for summary judgment.

        Interior’s supporting memorandum will include arguments in favor of its cross-motion

        and respond to Plaintiff’s motion for summary judgment.

    C. On or before October 16, 2023, the Tribe shall file its consolidated cross-motion for

        summary judgment and opposition to Plaintiff’s motion for summary judgment. The

        Tribe’s supporting memorandum will include arguments in favor of its cross-motion

        and respond to Plaintiff’s motion for summary judgment.

    D. On or before November 15, 2023, Plaintiff shall file its consolidated reply in support

        of its motion for summary judgment and opposition to Interior’s and the Tribe’s

        respective cross-motions for summary judgment. Plaintiff’s supporting memorandum

        will reply to Interior’s and the Tribe’s respective oppositions and respond to Interior’s

        and the Tribe’s respective cross-motions.

    E. On or before December 15, 2023, Interior shall file its reply in support of its cross-

        motion for summary judgment.

    F. On or before January 10, 2024, the Tribe shall file its reply in support of its cross-

Case No. 3:23-cv-00007-SLG, SOA v. Newland, et al.
Order re Joint Motion for Vacatur of the April 18, 2023, Case Scheduling Order [Dkt. 11] and
Granting Stipulated Motion for Briefing Schedule
Page 2 of 3
           Case 3:23-cv-00007-SLG Document 13 Filed 05/09/23 Page 2 of 3
        motion for summary judgment.

3. Should any motions concerning the record be filed by July 10, 2023, as set forth above,

   the Parties will confer on a revised briefing schedule to commence upon issuance of the

   Court’s order(s) on any motion(s) concerning the record.

       DATED this 9th day of May, 2023 at Anchorage, Alaska.


                                                   /s/ Sharon L. Gleason
                                                   UNITED STATES DISTRICT JUDGE




Case No. 3:23-cv-00007-SLG, SOA v. Newland, et al.
Order re Joint Motion for Vacatur of the April 18, 2023, Case Scheduling Order [Dkt. 11] and
Granting Stipulated Motion for Briefing Schedule
Page 3 of 3
           Case 3:23-cv-00007-SLG Document 13 Filed 05/09/23 Page 3 of 3
